          Case 1:18-cv-02963-CCB Document 32 Filed 12/05/19 Page 1 of 6



                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF MARYLAND


 U.S. EQUAL EMPLOYMENT OPPORTUNITY
 COMMISSION,

               Plaintiff,

         v.
                                                          Civil No. 1:18-cv-02963-CCB
 LAZ PARKING MID-ATLANTIC, LLC,

               Defendant.



                                     CONSENT DECREE

        This action was instituted by Plaintiff, the U.S. Equal Employment Opportunity

Commission (the “EEOC” or the “Commission”), against Defendant Laz Parking Mid-Atlantic,

LLC, (“Defendant”) alleging that Defendant violated Section 703(a)(1) of Title VII of the Civil

Rights Act of 1964, as amended (“Title VII”), 42 U.S.C. § 2000e-2(a)(l), by terminating Fouad

Sika (“Sika”), Birhan Mezgebe (“Mezgebe”), and Houssin El Kharroubi (“El Kharroubi”) on the

basis of their national origin.

        The Commission and Defendant desire to resolve this action without the time and

expense of continued litigation, and they desire to formulate a plan to be embodied in a Decree

which will promote and effectuate the purposes of Title VII. Defendant denies the claims of

discrimination and any other wrongdoing alleged by the EEOC.

        The Court has examined this Decree and finds that it is reasonable and just and in

accordance with the Federal Rules of Civil Procedure and Title VII. Therefore, upon due

consideration of the record herein and being fully advised in the premises, it is ORDERED,

ADJUDGED AND DECREED:
            Case 1:18-cv-02963-CCB Document 32 Filed 12/05/19 Page 2 of 6



                                          Scope of Decree

       1.       For purposes of this Decree, Defendant shall mean its managers, officers, agents,

parent organizations, successors, purchasers, assigns, subsidiaries, affiliates, and any corporation

or entity into which Defendant may merge or with which Defendant may consolidate. In the

event that there is a transfer of ownership of Defendant during the Term of the Decree,

Defendant shall provide prior written notice to any potential purchaser of Defendant’s business

of the existence and contents of this Decree.

       2.       This Decree resolves all issues and claims in the Complaint filed by the

Commission in this Title VII action, which emanated from the Charge of Discrimination filed by

Fouad Sika. This Decree in no way affects the Commission’s right to process any other pending

or future charges that may be filed against Defendant and to commence civil actions on any such

charges as the Commission sees fit.

       3.       The Decree shall be in effect for a period of two years from the date it is entered

by the Court. During that time, this Court shall retain jurisdiction over this matter and the parties

for purposes of enforcing compliance with the Decree, including issuing such orders as may be

required to effectuate the purposes of the Decree.

       4.       This Decree, being entered with the consent of the EEOC and Defendant, shall

not constitute an adjudication or finding on the merits of the case.

                     Monetary Relief to Sika, Mezgebe and El Kharroubi

       5.       Within thirty days of entry of this Decree, Defendant shall pay a total amount of

$155,000, paid as follows:

      $18,000 in back pay to Sika;

      $9,000 in back pay to Mezgebe;




                                                  2
            Case 1:18-cv-02963-CCB Document 32 Filed 12/05/19 Page 3 of 6



      $15,000 in back pay to El Kharroubi; and

      $113,000 in compensatory damages.

The EEOC shall have the sole discretion to determine the distribution of the compensatory

damages to Sika, Mezgebe and El Kharroubi and will advise Defendant of this distribution

within five days after entry of this Decree.

       6.       Defendant will issue Sika, Mezgebe and El Kharroubi IRS Form 1099s for the

2019 tax year for the compensatory damages amount paid to them and IRS W-2 forms for the

2019 tax year for the back pay amounts paid. Defendant shall make all legally required

withholdings from the back pay amounts and required employee contributions under FICA.

Defendant’s required employer contributions under FICA are separate from, and shall not be

deducted from, the portion of the payment representing back pay.

       7.       Within five days of the execution of the Decree, the EEOC shall provide

Defendant with current addresses of Sika, Mezgebe and El Kharroubi. The checks will be sent

directly to each. A photocopy of the checks and related correspondence will be emailed to EEOC

counsel.

       8.       In response to a written request from a prospective employer directed to LAZ

Human Resources Department on behalf of Sika, Mezgebe and/or El Kharroubi, LAZ shall state

only that information (such as dates of employment and position held) that it is LAZ policy to

provide, as applicable.

                                         Injunctive Relief

       9.       Defendant is enjoined from terminating employees based on their national origin.

Such national origin-based discrimination violates Title VII, which, in part, is set forth below:




                                                 3
              Case 1:18-cv-02963-CCB Document 32 Filed 12/05/19 Page 4 of 6



        It shall be an unlawful employment practice for an employer --
        (1) to … discharge any individual, or otherwise to discriminate against any individual
        with respect to his ... terms, conditions, or privileges of employment, because of such
        individual’s ... national origin ....

42 U.S.C. § 2000e-2(a)(1).

                                           Layoff Guidelines

        10.       Within 30 days of the entry of this Decree, Defendant will implement for the

duration of this Decree and distribute to all General Managers in the Baltimore region where

Sika, Mezgebe and El Kharroubi worked as well as any Human Resources employees who

service such region. guidelines pertaining to Company layoffs. Such guidelines will state that all

anticipated layoffs will be reviewed in advance with LAZ Human Resources and will give

guidance on legitimate business factors that LAZ may use to consider when making layoff

determinations. In addition, such guidelines shall state that it is the policy of LAZ to make any

layoff decisions without regard to an individual's national origin, race, color, religion, sex, age, or

disability.

                                          Notice and Posting

        11.       Defendant will display and maintain the EEOC poster in each of the facilities it

manages in the Baltimore region where Sika, Mezgebe and El Kharroubi worked as well as in

the Baltimore office where any Human Resources employees who service such region worked

while in Baltimore in a place or binder visually accessible to applicants and employees of

Defendant.

        12.       Within 30 days of the entry of this Decree, and for the duration of this Decree,

Defendant will display and maintain in a place or binder visually accessible to applicants,

employees and managers in each of the facilities it manages in the Baltimore region where Sika,

Mezgebe and El Kharroubi worked as well as in the Baltimore offices where any Human



                                                     4
            Case 1:18-cv-02963-CCB Document 32 Filed 12/05/19 Page 5 of 6



Resources employees who service such region worked while in Baltimore, a remedial Notice

pursuant to this Decree, a copy of which is annexed hereto as Exhibit A, and signed by

Defendant’s Corporate Counsel.

                                  Anti-Discrimination Training

       13.      Within four months from the entry of this Decree and every year thereafter for the

duration of this Decree, Defendant shall provide at least 3 hours of training on Title VII for all

supervisory and management employees in the Baltimore region where Sika, Mezgebe and El

Kharroubi worked as well as any Human Resources employees who service such region. The

training will cover all areas of prohibited Title VII employment discrimination with a special

emphasis on national origin discrimination.

       a.       The training shall be conducted by a licensed attorney with employment law

experience selected by Defendant and approved by the EEOC. Undersigned counsel for

Defendant is specifically approved by the EEOC as an acceptable trainer for this training.

       b.       Within ten business days of completing this training Defendant will furnish the

EEOC with a signed attendance list, the date and the duration of the training, a description of the

training, and a certification of completion of the mandatory training.

                                      Additional Provisions

       14.      All materials required by this Decree to be sent to the EEOC shall be sent via

email to maria.salacuse@eeoc.gov.

       15.      If at any time during the term of this Decree, the Commission believes that

Defendant is in violation of the Decree in any respect, the Commission shall give notice of the

alleged violation to Defendant and work with Defendant in good faith to come in to compliance.

Defendant shall have twenty (20) business days in which to investigate and respond to the




                                                  5
          Case 1:18-cv-02963-CCB Document 32 Filed 12/05/19 Page 6 of 6



allegations. Thereafter, the parties shall then have a period of twenty (20) business days or such

additional period as may be agreed upon by them, in which to engage in negotiation in good faith

regarding such allegations. If the Defendant has not remedied the alleged non-compliance or

satisfied the EEOC that it has complied, the EEOC may thereafter apply to the Court for

appropriate relief.

       16.     The Commission and Defendant shall bear their own costs and attorneys’ fees.

       17.     The undersigned counsel of record in the above-captioned action hereby consent,

on behalf of their respective clients, to the entry of the foregoing.

 FOR PLAINTIFF EQUAL EMPLOYMENT                          FOR DEFENDANT LAZ PARKING
 OPPORTUNITY COMMISSION:                                 MIDATLANTIC, LLC:


 _/s/ Debra M. Lawrence ___________                      /s/ Larry R. Seegull
 Debra M. Lawrence (Bar No. 04312)                       Larry R. Seegull (Bar No. 22991)
 Regional Attorney                                       Mary M. McCudden (Bar No. 20760)
 (Signed by Maria Salacuse with permission of            (Signed by Maria Salacuse with permission of
 Debra M. Lawrence                                       Larry R. Seegull)
                                                         JACKSON LEWIS, P.C.
 _/s/ Maria Salacuse _______________                     3800 Quarry Lake Drive
 Maria Salacuse (Bar No. 15562)                          Suite 200
 Supervisory Trial Attorney                              Baltimore, MD 21209
 U.S. EQUAL EMPLOYMENT OPPORTUNITY                       (410) 415-2004 Tel
 COMMISSION                                              (410) 752-0611 Fax
 George H. Fallon Federal Building                       Larry.seegull@jacksonlewis.com
 31 Hopkins Plaza, Suite 1432                            Mary.mccudden@jacksonlewis.com
 Baltimore, MD 21201
 (410) 209-2733 Tel
 (410) 209-2221 Fax
 debra.lawrence@eeoc.gov
 maria.salacuse@eeoc.gov


       IT IS SO ORDERED this ____ day of __________, 2019.



                                       Catherine C. Blake
                                       United States District Judge



                                                   6
